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I,                , make the following declaration based on my personal
knowledge and declare under the penalty of perjury pursuant to 28 U.S.C
§ 1746 that the following is true and correct:

1. My name is                    . I am the mother of               , who is incarcerated

     in the Bureau of Prisons. I am submitting this declaration in support of my

     daughter’s request for relief.

2.           was born on                       . She is my only child. Her original name

     was          . From a young age, I remember noticing things about                 that

     didn’t quite match what I saw among her peers. It wasn’t anything dramatic—

     just little things, like the way         seemed to gravitate toward dolls or how she

     carried herself or dressed in ways that felt unique compared to other kids. At the

     time, I didn’t think too much of it—I just figured she was her own unique person,

     a bit outside the mold. In middle school, she initially shared with me that she

     thought she was gay but soon came back to tell me that she felt like a girl, thought

     she was a girl, and believed herself to be transgender. I told her I loved her, of

     course. I also wanted to be sure that she and our family had the medical and

     mental health support to be able to provide her the support she needed. That began

     a process of reaching out to medical and mental health providers.

3. Working with therapists and doctors, we learned that                      had gender

     dysphoria. Based on professional recommendations and with the support of her

     providers,            stopped using her male birth name, began using female


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   instruction program. After graduation, she worked part time until her arrest in

                   .

7. After            ’s arraignment, she was housed in a federal detention facility in

                                                                             . While she was

   there, we spoke several times per week.                     was initially housed in an

   individual unit but soon thereafter was housed exclusively with women. While

                was at         , she continued to receive hormone therapy. She also

   continued to receive                   medication.

8. After               was sentenced, she was sent to                . In her approximately

                                   , a women’s prison,             continued to receive the

   hormones she was prescribed to treat her gender dysphoria as well as the

             medication. She was housed exclusively with women. During this time,

   we continued to speak several times per week.                  ’s period of incarceration

   at                    was generally unremarkable; with the exception of one infraction

   for                                            , I am not aware of any other disciplinary

   charges against              while she was there.

9. In       ,            was transferred to                                . That prison is also

   a women’s prison. Until this week, she has been housed in general population.

   Other than

            , she has stayed out of trouble. At this facility,              has been involved


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   with a program where



                                                                                    is a

   women’s prison, the commissary provides things like makeup, female

   undergarments, and other items needed by the women housed there.

10. I have been able to speak to                                            during her

   time at             . She keeps me updated on her life and her medical care.




                                                     . While at               ,

   has continued to received hormones and               medication, as far as I know,

   both of which she has been taking for many, many years.

11. On Tuesday, January 21, 2025, I received a call from             . She was frantic.

   Through tears, she told me that she and                                 were being

   segregated from the rest of the prison. She was told that they were being housed

   in the Special Housing Unit (“SHU”) and then would be sent to a transfer facility

   and, ultimately, to a men’s prison. Later that day she called me back to say that

   she                                                                       had been

   told that because of an Executive Order signed by the President, they were being

   transferred to a men’s prison.


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12. Until that transferred occurred, she was told, they would be held in the SHU.

      Because people held in the SHU do not have access to the telephone, she would

      not be able to speak with me again until she had been transferred. She did not

      have any ability to contest her placement in the SHU before being sent there, or

      since. Similarly, she was told that did not have an ability to challenge the transfer

      because it was required by Executive Order. Although she was told that transfer

      to a new facility would happen soon, and that transfer to the SHU would be

      immediate,          was not told when, exactly, she would be transferred. I have

      not had any contact with          since Tuesday.

13.            is my daughter. For more than a decade, she has lived as a woman. For

      the                 years during which she has been incarcerated, she has only

      been housed with women.

                               and being housed with women is the only way she can

      remain safe.

14. When your child is incarcerated, you worry about them. If                          were

      transferred to a men’s prison, my fears would multiply. As a mother, I am

      terrified for my daughter’s safety and well-being if she is placed in a men’s

      prison. My biggest fear is that she will be targeted for harassment, abuse, and

      violence, including rape, because she is transgender. I know how vulnerable she




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